                     Case 22-2908, Document 385, 08/10/2023, 3554982, Page1 of 2




                                                 STATE OF NEW YORK
                                          OFFICE OF THE ATTORNEY GENERAL
 LETITIA JAMES                                                                                          BARBARA D. UNDERWOOD
ATTORNEY GENERAL                                                                                             SOLICITOR GENERAL
                                                                                                       DIVISION OF APPEALS & OPINIONS


                                                                      August 10, 2023

       Catherine O’Hagan Wolfe
       Clerk of Court
       U.S. Court of Appeals for
        the Second Circuit
       40 Foley Square
       New York, NY 10007

                        Re:      Antonyuk v. Hochul, Nos. 22-2908, 22-2978

       Dear Ms. Wolfe:

             I represent state defendants-appellants, Steven Nigrelli and Matthew
       Doran, in the above-captioned appeal. I write in response to the plaintiffs-
       appellees’ August 9, 2023, letter, submitted under Federal Rule of Appellate
       Procedure 28(j).

             Plaintiffs draw this Court’s attention to an out-of-circuit district-court
       decision that temporarily restrained enforcement of certain provisions of
       Hawaii’s laws governing firearms in sensitive places and on private property.
       The decision emphasized (at 90) that the court’s “rulings could be changed at
       the preliminary injunction stage,” because the State may proffer additional
       supporting evidence at that time. The decision also held (at 81-82) that
       Hawaii’s private-property provision does not violate the First Amendment.
       This tentative and preliminary decision has minimal, if any, relevance to this
       case.

             In any event, the Hawaii court is not alone in having addressed
       constitutional challenges to sensitive-place provisions since the close of
       briefing in this appeal, and several decisions rendered since that time have
       correctly refused to enjoin enforcement of New York’s own sensitive-place

         28 LIBERTY STREET, NEW YORK, NY 10005-1400 • PHONE (212) 416-8020 • FAX (212) 416-8962 *NOT FOR SERVICE OF PAPERS
                                                        WWW.AG.NY.GOV
          Case 22-2908, Document 385, 08/10/2023, 3554982, Page2 of 2




provisions or analogous provisions in other States. For instance, two judges of
the U.S. District Court for the Southern District of New York refused to
preliminarily enjoin several of New York’s sensitive-place provisions, including
the place-of-worship provision at issue in this appeal. See Goldstein v. Hochul,
No. 22-cv-8300, 2023 WL 4236164 (S.D.N.Y. June 28, 2023); Frey v. Nigrelli,
No. 21-cv-5334, 2023 WL 2473375 (S.D.N.Y. March 13, 2023). The U.S. District
Court for the District of Maryland likewise declined to enjoin various sensitive-
place provisions of Maryland’s law, including those governing places of worship
and parks. See Maryland Shall Issue, Inc. v. Montgomery Cnty., Maryland, No.
21-cv-1736, 2023 WL 4373260 (D. Md. July 6, 2023). In addition, the Third
Circuit stayed a district court’s preliminary injunction of certain sensitive-
place provisions of New Jersey’s law. See Order, Koons v. Att’y Gen. N.J., No.
23-1900 (3d Cir. June 20, 2023).

       These cases further support appellants’ arguments in support of reversal
of the preliminary injunction issued by the district court in this case.

                                           Respectfully,

                                           /s/ Philip J. Levitz

                                           Philip J. Levitz
                                           Assistant Solicitor General
                                           (212) 416-6325

cc: Counsel of record (by ECF)




                                       2
